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 6                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON
 7                                    AT TACOMA
 8    UNITED STATES OF AMERICA,
 9                         Plaintiff,                       CASE NO. CR08-5125BHS
10           v.                                             ORDER GRANTING MOTION
11
                                                            TO ORDER GOVERNMENT
      HERMINIO BARRAGAN MENDOZA;                            TO DISCLOSE REDACTED
12
      FERNANDO BARRAGAN ZEPEDA;                             PORTIONS OF AFFIDAVITS
      JOSE BARRAGAN ZEPEDA;                                 IN SUPPORT OF WIRETAP
13
      ALEJANDRO CALDERON FRANCO;
      VERONICA PARDO MARTINEZ; LUIS
14
      ALVAREZ PONCE; EPIFANIO
      BARRAGAN ESTRADA; AMADOR
15
      HEREDIA MENDOZA; ROBERT
      BLANCHARD; ADRIAN PEREZ
16
      GARCIA; SALVADOR PARDO
      MARTINEZ; ULISES BARRAGAN
17
      MENDOZA; ROBERTO BARRAGAN
      MENDOZA; TAMMY JEROME;
18
      DENNIS STENGEL; FRANCISCO
      MANUEL RUIZ CHAVEZ; OMAR
19
      CARDOZO; MARTIN CHACON
      MARTINEZ; SAMANTHA MASON,
20                         Defendants.
21

22          This matter comes before the Court on the Motion to Order Government to

23   Disclose Redacted Portions of Affidavits in Support of Wiretap (Dkt. 248). In response to

24   the motion, the Government indicates that it will comply with the request for unredacted

25   versions of affidavits offered in support of search warrants and urges the Court to deny

26   the motion as moot. Dkt. 257. Because it is unclear whether the Government has

27   complied with the request at this juncture, it is hereby

28

     ORDER - 1
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 1          ORDERED that the Motion to Order Government to Disclose Redacted Portions

 2   of Affidavits in Support of Wiretap (Dkt. 248) is GRANTED, and the Government shall

 3   furnish unredacted versions of the affidavits forthwith.

 4          DATED this 7th day of August, 2008.




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                                                      BENJAMIN H. SETTLE
 8                                                    United States District Judge
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     ORDER - 2
